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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
   UNITED STATES, et al.,                      )
                                               )
                         Plaintiffs,           )
          v.                                   )       No. 1:23-cv-00108-LMB-JFA
                                               )
   GOOGLE LLC,                                 )
                                               )
                         Defendant.            )


                                       [PROPOSED] ORDER

          Upon consideration of Plaintiffs’ Motion for an Adverse Inference and the documents

   referenced therein, and for good cause shown, the Court hereby ORDERS that Plaintiffs’ motion

   is GRANTED. In the trial of this matter, the Court will presume that deleted chats were

   unfavorable to Google.



   DATE: _____________________                         ____________________________________
